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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :               CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL
   EXHIBITS 1-5 TO PLAINTIFFS’ OPPOSITION TO DEFENDANT RICHARD MAST’S
     MOTION AND MEMORANDUM IN SUPORT OF ORDER DIRECTING CLERK
       TO REQUEST INFORMATION HELD BY A VIRGINIA CIRCUIT COURT

        Pursuant to Local Civil Rule 9 and this Court’s Protective Order (ECF No. 26), Plaintiffs

  seek to file Exhibits 1-5 to Plaintiffs’ Opposition to Defendant Richard Mast’s Motion and

  Memorandum in Support of Order Directing Clerk to Request Information Held by a Virginia
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  Circuit Court (“Plaintiffs’ Opposition”) under permanent seal to protect the safety of Plaintiffs and

  other innocent non-parties. Exhibits 1-5 to Plaintiffs’ Opposition contain information that poses

  threats to Plaintiffs’ safety and the safety of other non-parties, as recognized by the Court’s

  Protective Order (ECF No. 26). In addition, Exhibits 1-5 to Plaintiffs’ Opposition are documents

  subject to a sealing order issued by the Circuit Court of the County of Fluvanna. See ECF No. 73,

  Exh. B.

         Under the common law right of access to judicial records, documents should be sealed

  when a party’s interest in keeping the information contained therein confidential outweighs the

  presumed right of public access. See, e.g. Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d

  178 (4th Cir. 1988); Ashcroft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). “Courts have

  recognized that an interest in protecting the physical and psychological well-being of individuals

  related to the litigation, including family members and particularly minors, may justify restricting

  access” to court documents. United States v. Harris, 890 F.3d 480, 492 (4th Cir. 2018); see also

  United States v. Doe, 962 F.3d 139, 147 (4th Cir. 2020).

         In this instance, the threats to the safety of the Plaintiffs and other innocent non-parties are

  very real, and have been recognized by this Court’s Protective Order (ECF No. 26). Plaintiffs have

  publicly filed their Opposition. Thus, the public is not wholly deprived of an understanding of the

  general underlying factual basis for the request. The relief Plaintiffs seek in this motion is narrowly

  tailored to the circumstances, and aims to seal only what is absolutely necessary to safeguard the

  safety of persons related to the litigation. Defendants are not prejudiced as they are aware of

  Plaintiffs’ identities and are parties to the sealed proceeding.
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          Accordingly, Plaintiffs request that Exhibits 1-5 to Plaintiffs’ Opposition be filed under

  permanent seal, as the risks attendant to public disclosure of these is not likely to dissipate over

  time.



  Dated: March 14, 2023                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 14th day of March, 2022, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

  to all CM/ECF participants.




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